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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

CHRISTOPHER SCOTT SMITH and        §
VERSATILE INSURANCE PLANNERS, LLC, §
                                   §
     Plaintiffs,                   §
                                   §
VS.                                § CIVIL ACTION NO. SA-17-CA-005-FB
                                   §
CERTAIN UNDERWRITERS AT LLOYD’S §
LONDON,                            §
                                   §
     Defendant.                    §

      ORDER DENYING MOTION TO REMAND AND GRANTING SEALING MOTION

        Before the Court are Plaintiffs’ Motion to Remand (docket #6); Defendant Certain Underwriter’s

at Lloyd’s, London’s Response in Opposition to Motion to Remand (docket #8); Plaintiffs’ Reply to

Defendant’s Response to Plaintiffs’ Motion to Remand (docket #10); and Defendant Certain

Underwriter’s at Lloyd’s, London’s Sealing Motion (docket #9). Plaintiffs originally moved to remand

this case for lack of jurisdiction because of insufficient facts to establish diversity jurisdiction between

the parties. That information has been provided by the defendant which supports a finding of diversity

between the parties.

        Accordingly, based on the argument, authority, and documentation provided by the parties to

this Court, the Court finds it does have subject matter jurisdiction. Therefore, IT IS HEREBY

ORDERED that Plaintiffs’ Motion to Remand (docket #6) is DENIED.

        Also before the Court is defendant’s sealing motion. Defendant seeks permission to keep a

document titled “Synd4020 YOA 2012" and referenced as Exhibit 1in its Response in Opposition to

Plaintiffs’ Motion to Remand under seal because it contains classified information which the parties

have agreed to protect and keep sealed pursuant to the Joint Confidentiality and Protective Order

entered in this case. The Court finds the unopposed motion has merit and should be granted.
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       Accordingly, IT IS HEREBY ORDERED that Defendant Certain Underwriter’s at Lloyd’s

London’s Sealing Motion (docket #9) is GRANTED such that the document title “Synd4020 YOA

2012" attached to the Sealing Motion as Exhibit 1 is sealed and shall remain under seal unless otherwise

ordered by this Court.

       It is so ORDERED.

       SIGNED this 8th day of March, 2017.


                                        _________________________________________________
                                        FRED BIERY
                                        UNITED STATES DISTRICT JUDGE
